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JEFFREY A. DICKERSON
NEVADA Bar No. 2690

28 Vine Street

Reno, NV 89503

(775) 786-6664

Attorney for Plaintiff 0,

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

kae*

JEFF LOWE, CASE NO.
an individual,
Plaintiff, CERTIFICATE OF INTERESTED
PARTIES
vs.

UNIVERSITY AND COMMUNITY
COLLEGE SYSTEM OF NEVADA,
a political subdivision of the State
of Nevada,

CV-N-00-0127-DWH- VPC

Defendant.
/
The undersigned, counsel of record for JEFF LOWE certifies that the following have
an interest in the outcome fo this case:

Plaintiff, to his belief and knowledge, knows of no interested party at this time, with
the exception of those who are participating in the above referenced matter.

DATED this / day of fe , 2000.

LAW OFFICE OF
JEFFREY A. DICKERSON

  
 

 

JEF YA. DICKERSON

JAD/kdd/lowe/certintpty 1

 
 

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SSS

United States District Court

pisTRICT oF NEVADA

 

JEFF LOWE,
an individual,

SUMMONS IN A CIVIL CASE

Vv. -smen.
CV-N-00-9
™ 1? - ? .
UNIVERSITY AND COMMUNITY 7-DWH-Vpc
COLLEGE SYSTEM OF NEVADA,
a political supdivision of
the State of Nevada,

TO: (Name and address of defendant)

Universitv & Community College
Svstem of Nevada

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address}
JEFFREY A. Dickerson

28 Vine Street

Reno, NV 89503

(775) 786-6664

an answer to the compiaint which is herewith served upon you, within 20 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable period of
time after service.

MAR 1 9 2000

 

 

CLERK DATE

 

 

(BY) DEPUTY CLERK See
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